Case 2:24-cv-00585-MWF-AS Document 1-1 Filed 01/22/24 Page 1 of 3 Page ID #:12




 1
                                       EXHIBIT A

 2
           For Love & Lemons Designs                Exemplar of Infringing Products
 3

 4
                                            EMERY ROSE Allover Floral Print Blouse
 5

 6

 7
                                                                Detail
 8

 9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                           12
                                        COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1-1 Filed 01/22/24 Page 2 of 3 Page ID #:13




 1

 2

 3

 4

 5

 6

 7

 8

 9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                           13
                                       COMPLAINT
Case 2:24-cv-00585-MWF-AS Document 1-1 Filed 01/22/24 Page 3 of 3 Page ID #:14




 1

 2

 3

 4

 5

 6

 7

 8

 9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28


                                           14
                                       COMPLAINT
